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Need some help?

Sign up

                            Username
                            Email address
                            Password
                            Confirm password
                            Referrer code

Enter the code given by your referrer, and get a 10% discount on your trading fees for the first 30 days. (Optional.)
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Timezone
(GMT+00:00) UTC

Default currency for fees
Your default currency to deduct fees from (for margin trading, and exchange depending on Exchange fee setting)

    Dollar

    Bitcoin

Terms & Conditions By signing up on Bitfinex, you agree to our
Terms & Conditions and Anti-Spam Policy
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      Secure: Prevents key-logging and "fishing" attacks
      Fast: No need to type in username, password and two-factor tokens
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      Trusted: Used by over 100,000 sites.

Learn more about Clef & Bitfinex

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Terms of Service


Thank you for choosing Bitfinex.com (the "Site"). The following terms and conditions of service (these "Terms of Service") apply to
customers of the Site. Some of these Terms of Service will apply only to U.S. Persons (as defined below) using the Site. Others apply to
all users of the Site. You should read these Terms of Service carefully to determine which provisions apply to you. By using any of the
services, functions, or features offered from time to time on the Site (collectively or individually, the "Services"), the customer (referred
to herein as "you" or "your") agrees to these Terms of Service.

These Terms of Service constitute the agreement and understanding with respect to the use of any or all of the Services, and any manner
of accessing them, among: you; BitGo, Inc. ("BitGo"), the company providing individualized, multi-signature wallets on the Site; and,
one of the following parties:

a) where you are a U.S. Person, BFXNA Inc. ("BFXNA"); and,
b) where you are not a U.S. Person, iFinex Inc. ("iFinex").
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For the avoidance of doubt, these Terms of Service have three parties: you, BitGo, and either BFXNA or iFinex. By using the Services,
you agree to BitGo’s Terms of Use, which are incorporated into these Terms of Service by reference. The following Site policies and
pages are also incorporated into these Terms of Service by reference: Privacy Policy; Risk Disclosure Statement; Anti-Spam Policy; and
Law Enforcement Requests Policy. In the event of any inconsistency between these Terms of Service and any other pages or policies on
the Site, these Terms of Service shall prevail.

By creating an account on the Site or by using any of the Services, you acknowledge that you have read, understand, and completely
agree to these Terms of Service in effect from time to time. If you disagree with these Terms of Service or with any subsequent
amendments, changes, or updates, you may not use any of the Services; your only recourse in the case of disagreement is to stop using all
of the Services and close your account(s) on the Site.

These Terms of Service may be amended, changed, or updated by BFXNA or iFinex, as applicable, without prior notice to you. You
should check back often to confirm that your copy and understanding of these Terms of Service is current and correct. Your non-
termination or continued use of any Services after the effective date of any amendments, changes, or updates constitutes your acceptance
of these Terms of Service, as modified by such amendments, changes, or updates.

The use of the Site, BitGo, or any Services is void where prohibited by applicable law.

   1. 1.Interpretation:
          1. 1.1.Definitions: In these Terms of Service and all documents incorporated herein by reference, the following words have the
             following meanings unless otherwise indicated::
                 1. 1.1.1."AML" means anti-money laundering;
                 2. 1.1.2."Associates" means iFinex Inc., BFXNA Inc., BitGo, Inc., and each and every one of their respective
                    shareholders, subsidiaries, employees, contractors, agents, directors, officers, partners, affiliates, insurers, and
                    attorneys;
                 3. 1.1.3."BFXNA" means BFXNA Inc.;
                 4. 1.1.4."Bitfinex" means:
                        1. 1.1.4.1.where you are a U.S. Person, BFXNA; and,
                        2. 1.1.4.2.where you are not a U.S. Person, iFinex;
                 5. 1.1.5."BitGo" means BitGo, Inc.;
                 6. 1.1.6."CTF" means counter-terrorist financing;
                 7. 1.1.7."Digital Tokens" means blockchain-based assets or rights, or other similar digital representations of rights or
                    assets, including bitcoins, Litecoins, and ethers;
                 8. 1.1.8."Encumbered Wallet" means a Multi-Signature Wallet subject to one or more Liens;
                 9. 1.1.9."FATF" means the Financial Action Task Force;
                10. 1.1.10."Financing Order Book" has the meaning set out in paragraph 3 of these Terms of Service;
                11. 1.1.11."Financing Provider" means any provider of financing from and on her own account on the Site;
                12. 1.1.12."Financing Recipient" means any recipient of financing from a Financing Provider on the Site;
                13. 1.1.13."iFinex" means iFinex Inc.;
                14. 1.1.14."Lien" has the meaning set out in paragraph 4 of these Terms of Service;
                15. 1.1.15."Losses" has the meaning set out in paragraph 16 of these Terms of Service;
                16. 1.1.16."Multi-Signature Wallet" means a bitcoin wallet on the Site that is built with BitGo technology using a “2 of
                    3” private key permissioned structure whereby each wallet has three private keys and transacting with bitcoins
                    associated with such wallet requires at least two of the three private keys;
                17. 1.1.17."Person" includes an individual, association, partnership, corporation, other body corporate, trust, and any
                    form of legal organization or entity;
                18. 1.1.18."Personal Information" means information about an identifiable individual, business, organization, or other
                    entity, but does not include the name, title, business address, or telephone number of an employee of a business,
                    organization, or other entity;
                19. 1.1.19."Prohibited Use" has the meaning set out in paragraph 9 of these Terms of Service;
                20. 1.1.20."Service" means any of the services, functions, or features offered on the Site;
                21. 1.1.21."Site" means the Internet website www.bitfinex.com;
                22. 1.1.22."SynapsePay" means Synapse Payments, LLC;
                23. 1.1.23."Terms of Service" means these terms and conditions of service, as they may be changed, amended, or updated
                    from time to time, including BitGo’s Terms of Use and the following Site policies and pages: Privacy Policy; Risk
                    Disclosure Statement; Anti-Spam Policy; and, Law Enforcement Requests Policy;
                24. 1.1.24."Trading Order Book" has the meaning set out in paragraph 3 of these Terms of Service;
                25. 1.1.25."Unencumbered Wallet" means a Multi-Signature Wallet not subject to any Liens;
                26. 1.1.26."U.S. Person" means:
                        1. 1.1.26.1.in the case of an individual, a Person resident in the United States; and,
                        2. 1.1.26.2.in any other case,
                               1. 1.1.26.2.1.a Person resident in the United States; or,
                               2. 1.1.26.2.2.a Person owned 10% or more by one or more Persons resident in the United States or by one or
                                  more corporations or entities incorporated in or formed in the United States; and,
                27. 27"you" or "your" means the customer.
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       2. 2Headings: The headings and sub-headings in these Terms of Service are for ease of reference only and are not to be taken
          into account in the construction or interpretation of any provision or provisions to which they refer.
       3. 3Extended Meanings: Unless otherwise specified in these Terms of Service, words importing the singular include the plural
          and vice versa and words importing gender include all genders.
       4. 4Governing Law: Subject to paragraph 7 of these Terms of Service, these Terms of Service shall be governed by and
          construed and enforced in accordance with the laws of the British Virgin Islands, and shall be interpreted in all respects as a
          British Virgin Islands contract. The venue for any claim or action against or involving Bitfinex shall be in the British Virgin
          Islands. The venue for any claim or action in connection with the Services against or involving BitGo shall be in the British
          Virgin Islands. You unconditionally attorn to the jurisdiction of the courts of the British Virgin Islands and all courts
          competent to hear appeals therefrom. The doctrine of forum non conveniens shall not apply in the selection of forum under
          these Terms of Service.
2. 2Licence to Use the Site: If you comply with these Terms of Service, Bitfinex grants you the limited right to use the Site and the
   Services. The right to use the Site and the Services is a non-exclusive, non-transferable, revocable, limited licence, and it is subject
   to the limitations and obligations in these Terms of Service. Nothing in these Terms of Service gives you any licence (other than as
   set out in this paragraph), right, title, or ownership of, in, or to the Site or any of the Services.
3. 3 Trading & Other Activities: The Site is a trading environment for the spot purchase and sale of Digital Tokens. The Site permits
   both unfinanced and financed transactions. Unfinanced purchases are fully funded by trading participants through funds deposited
   by you. For example, if you deposit $100.00 into your account on the Site, you may then purchase $100.00 worth of bitcoins in an
   unfinanced transaction. Purchases and sales of bitcoins on the Site, whether in an unfinanced transaction or a financed transaction,
   are settled by actual delivery of the full amount of the bitcoins or other Digital Tokens by the seller to the purchaser’s account
   against payment in full by the purchaser to the seller’s account.

  1. Financed transactions in Digital Tokens are permitted through the Site’s platform-enabled, peer-to-peer financing functionality.
  Financing Providers may offer financing from and on their own account if they so choose. Financing Recipients may accept
  financing from Financing Providers for up to 70% of the value of a Digital Token purchase. For example, if you deposit $30.00 to
  the Site, you may then obtain financing in an amount not exceeding $70.00 in order to buy $100.00 worth of bitcoins in a financed
  transaction. In other words, you may accept financing equal to a maximum total bitcoins-to-equity ratio of 3 1/3 to 1.

  2. Shorting is another type of financed transaction permitted on the Site’s platform. In a typical ‘long sale’ of bitcoin, the seller
  enters into a regular spot trade of bitcoin and settles the transaction by delivering bitcoin that the seller owns outright. In a ‘short
  sale’ of bitcoin, the seller also enters into a regular spot sale of bitcoin, except that the transaction is settled by delivering bitcoin
  that the seller has borrowed.

  3. Digital Tokens can be borrowed for purposes of short sales through the platform’s peer-to-peer financing functionality. The
  bitcoin borrower may seek offers or make a bid to borrow Digital Tokens on the Financing Order Book. Bitcoin borrowers are not
  permitted to borrow more than 70% of the bitcoins sold in a short sale. The fiat proceeds of any short sale serve as collateral for the
  borrowing of the bitcoins until those bitcoins are repaid.

  Trading markets are volatile and shift quickly in terms of liquidity, market depth, and trading dynamics. You are solely responsible
  for any and all trading and non-trading activity on and for your account on the Site. You acknowledge and agree: to be fully
  responsible and liable for your trading and non-trading actions and inactions on the Site and all gains and losses sustained from
  your use of the Site, BitGo, and any of the Services; to be responsible for any negative balance in your account(s) on the Site; to be
  fully responsible and liable for all of your obligations with respect to any financing activities on the Site; and, to be fully
  responsible for safeguarding access to, and any information provided through, the Site, BitGo, and any of the Services, including,
  but not limited to, private keys, user names, passwords, and bank account details.

  There is no guarantee against losses on the Site. You may lose more than is in your various wallets on the Site if you engage in
  financing on the Site. When financing is used for trading, the margin loan carries risk if the value of your bitcoins drops. If the
  value of your bitcoins drops below a certain level, you are responsible for responding to this market circumstance with cash or
  additional Digital Tokens satisfactory to Bitfinex. Failure to respond can result in the forced-liquidation of Digital Tokens in your
  account. Bitfinex cannot guarantee to stop losses even with the ability to force-liquidate any of your positions (due to, for example,
  market volatility and liquidity). Bitfinex will not be and is not responsible for any Financing Provider losing funds or Digital
  Tokens to any Financing Recipient on the Site or for any losses incurred by a Financing Recipient.

  Bitfinex allows trading participants to use third party peer-to-peer financing from other participants on the platform to trade Digital
  Tokens. Financing Recipients may obtain financing in one of two general ways: they may place bids for financing on the Site’s
  separate, peer-to-peer financing order book (the <strong>"Financing Order Book"</strong>); or, they may elect to be automatically
  matched through the Site’s order matching engine with one or more Financing Providers on the Financing Order Book at the best
  prevailing price on the Financing Order Book. Although Bitfinex is not a party to these financing contracts, Bitfinex enforces the
  contracts established between Financing Providers and Financing Recipients on the Financing Order Book.

  The Financing Order Book operates independent of the spot contract trading order book (the "Trading Order Book"). Once the
  desired financing is secured by a Financing Recipient, both financed and unfinanced transactions on the Trading Order Book are
  indistinguishable from each other to the trade matching engine.

  BitGo is not responsible for any trading or financing activity with respect to your Bitfinex account. BitGo’s sole responsibilities are
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  set forth in paragraphs 5 and 6 of these Terms of Service and BitGo’s Terms of Use. You agree to hold Bitfinex and BitGo harmless
  from and against any losses from any trading or financing activities of any nature.

  The amount of the financing, the term of the financing, and the interest rate are all commercial terms negotiated through the
  Financing Order Book between Financing Providers and Financing Recipients. For instance, assume that A has $30.00 (in dollars)
  in her account on the Site. A obtains $70.00 in financing at X interest rate for Y term on the Financing Order Book (thereby
  becoming a Financing Recipient) from B, a Financing Provider. With that aggregate amount of $100.00, A may purchase $100.00
  in bitcoins on the Trading Order Book from C, or from one or more other sellers. A has the right to repay the financing (including
  any accrued interest) at any time without pre-payment or other penalty. Obtaining financing does not create any obligation to
  purchase bitcoins on the Trading Order Book. A may also replace financing from B at any time with more favorable financing.

  In the above example, the bitcoins purchased by A ($100.00) are subject to a Lien in favor of B up to the total amount of financing
  secured from B ($70.00 plus any interest component). A may remove any amount of bitcoins from the Site that is not subject to the
  Lien. If the Financing Recipient’s equity falls to or below 15%—calculated as the quotient (expressed as a percentage) obtained by
  dividing (a) the excess of (i) the market value of the purchased bitcoins over (ii) the total principal amount (plus accrued and
  unpaid interest) relating to all financing outstanding by (b) the market value used in (a)(i), above—Bitfinex will force the
  liquidation of the bitcoins in A’s account without notice to A, return financing to the Financing Provider, with accrued interest, and
  return the balance to the Financing Recipient. Bitfinex does not make margin calls. For example, if the purchased bitcoins’ value
  falls from $100.00 to $82.35, the difference between that value and the financing obtained by A would be $82.35 – $70.00, or
  $12.35. Taken as a percentage of the bitcoins’ value, $12.35 ∕ $82.35 equals 15%. In other words, if the value of the bitcoins fell to
  $82.35 in aggregate, A’s bitcoins would be liquidated by Bitfinex on the Trading Order Book, B would be repaid, and any
  remaining difference ($12.35, exclusive of interest) would be A’s to retain.

  By contrast, if the market value of bitcoins rises, A may sell her bitcoins and repay the loan. For example, assume the value of A’s
  bitcoins rises to $115.00. Now the difference between the bitcoins’ value and the financing is $115.00 – $70.00, or $45.00. Taken as
  a percentage of the value of the bitcoins, $45.00 ∕ $115.00 equals approximately 39%. Accordingly, A could remove part of her
  equity, but may not fall below her initial equity requirement. A could also sell the bitcoins on the Trading Order Book, repay the
  financing to B (plus any interest), and retain the balance on the transaction.

  Alternatively, A could satisfy the Lien and unencumber the bitcoins by repaying the financing used to purchase the bitcoins.
  Unencumbering the bitcoins simply refers to the process of using some combination of unrealized gain or additionally deposited
  funds, or both, for the purposes of paying off the financing and removing the Lien. In the above example, A could deploy the
  unrealized gain of $15.00 to partially unencumber the bitcoins owned by her, thereby reducing the financed amount outstanding to
  B.

   You can use the trading features of the Trading Order Book through your ‘Exchange Wallet.’ You may access the Funding Order
   Book through your ‘Trading Wallet.’ Finally, you may deposit funds to Bitfinex using your ‘Deposit Wallet.’
4. 4Agency: Neither Bitfinex nor BitGo acts as principals, counterparties, or market-makers in the transactions effected through
   trading on Bitfinex or in providing financing for financed trading on Bitfinex. However, Bitfinex administers and enforces contracts
   among parties engaged in financing activities on the Site. You hereby irrevocably appoint Bitfinex to act as your exclusive agent in
   respect of any contract on the Site in which you are a Financing Recipient. Specifically, you hereby grant Bitfinex agency, and you
   authorize and instruct Bitfinex: to implement, levy, monitor, and maintain a lien on all fiat amounts and Digital Tokens in your
   name or control on the Site in favor of one or more Financing Providers (a “Lien”); and, to liquidate any Digital Tokens in your
   name or control on the Site if necessary to ensure that any Financing Provider on the Site from whom you have obtained financing
   is repaid in full.
5. 5Wallets, Key Distributions & Bitgo:
        1. 5.1Multi-Signature Wallet Key Distribution: Multi-Signature Wallets require multiple permissions—through private keys—to
           transmit funds from a bitcoin wallet. In a traditional bitcoin wallet, each address in that wallet has one associated private key
           that vests full power in the key holder to sign for and transmit funds from that address. So-called “m of n” multi-signature
           addresses allow for bitcoin addresses with two or more (n) associated private keys which can be configured to require some
           subset of them in order to sign transactions from those addresses. For example, each Multi-Signature Wallet is built on a ‘2 of
           3’ multi-signature configuration; there are three associated private keys, and any two of those keys can sign for transactions.
           Notwithstanding the distribution of the private keys and subject to any valid liens, encumbrances, and pending settlements,
           all bitcoins in your Multi-Signature Wallets belong to and are owned by you. You may, at any time, withdraw bitcoins from
           your Multi-Signature Wallet to the extent that they are not encumbered by any Liens. You agree that you will not withdraw
           any amount or bitcoins from the Site that are subject to or encumbered by any Lien, and agree to allow Bitfinex to block a
           withdrawal, as appropriate, for Encumbered Wallets.
        2. 5.2U.S. Persons Engaged in Financing: If you are a verified U.S. Person engaged in financing on the Site, your financing
           transactions will be undertaken through Encumbered Wallets. One private key for each Encumbered Wallet is distributed to
           each of you, BFXNA, and BitGo. For the avoidance of doubt, this structure applies only to wallets of verified U.S. Persons
           containing bitcoins subject to one or more Liens. One key should be in your exclusive control at all times.
        3. 5.3Other Wallets: If you are not a U.S. Person but are engaged in financing on the Site, or if you are a U.S. Person not
           engaged in financing on the Site, your transactions on the Site will be undertaken through Unencumbered Wallets. Two
           private keys for each Unencumbered Wallet are distributed to Bitfinex and one private key is distributed to BitGo. With
           respect to the Bitfinex private keys, one private key is an operational key and one is a backup key. The backup key is broken
           up into multiple parts and requires multiple agents of Bitfinex in order to reconstruct it.
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       4. 5.4BitGo’s Role: BitGo provides certain services to Bitfinex. In connection with its provision of those services to Bitfinex,
          BitGo holds one private key for each Multi-Signature Wallet and uses those keys to sign transactions as directed by Bitfinex.
          Unless compelled by an arbitrator or otherwise required by applicable law, BitGo will only use a private key to sign a Multi-
          Signature Wallet transaction that is first signed by Bitfinex. For the avoidance of doubt, you acknowledge, understand, and
          agree that BitGo will not use any private key it holds to co-sign multi-signature transactions as directed by you without the
          consent of Bitfinex unless compelled by an arbitrator under these Terms of Service.
       5. 5.5Instructing BitGo: In the event of any dispute or disagreement between you and BFXNA as to claims on the bitcoins in an
          Encumbered Wallet, you may instruct BitGo to stop using the private key held by BitGo to sign transactions from the
          Encumbered Wallet by using the credentials communicated to you by BitGo to access the Encumbered Wallet interface on
          BitGo and clicking on the “freeze wallet” button. After contacting BitGo, you may agree and settle any dispute with BFXNA
          or you may compel BFXNA, you, and BitGo to submit to arbitration as set out in these Terms of Service, wherein the merits
          of any competing arguments and claims about the bitcoins in the Encumbered Wallet shall be finally and conclusively
          resolved. Any costs of BitGo associated with any customer complaint or instructions to BitGo (separate and apart from
          arbitral proceedings, if any) shall be borne by the complaining or instructing customer. Any costs of BFXNA associated with
          any customer complaint or instructions to BFXNA (separate and apart from arbitral proceedings, if any) shall be borne by the
          complaining or instructing customer. Either BFXNA or BitGo may also invoke arbitration at any time and for any reason.
          Any and all transactions and activities in your Bitfinex accounts shall cease as of the time that arbitration is invoked or
          compelled by any party to these Terms of Service, except where necessary to satisfy any Liens or to protect BFXNA. Without
          limitation, the arbitrator shall be empowered to require you, BitGo, or BFXNA to sign transactions in accordance with her
          determination. The results of any arbitration under this Agreement shall be finally and conclusively binding on you, BitGo,
          and Bitfinex. For the avoidance of doubt, BitGo’s sole responsibility to you is to act on your instruction to stop co-signing
          transactions from an Encumbered Wallet associated with your Bitfinex account within a reasonable time after you so instruct
          BitGo.
6. 6Account Closure: If and when you close your account with Bitfinex and there is a Lien outstanding against any of your funds or
   Digital Tokens, Bitfinex may satisfy the Lien or invoke arbitration under these Terms of Service, or both. If and when you close
   your account and there is no Lien outstanding against any of your wallets, funds, or Digital Tokens, this Agreement shall terminate
   upon account closure. If and when BitGo closes your account and there is a Lien outstanding against any of your wallets, funds, or
   Digital Tokens, Bitfinex may satisfy the Lien or invoke arbitration under these Terms of Service, or both. If and when BitGo closes
   your account and there is no Lien outstanding against any of your wallets, funds, or Digital Tokens, this Agreement shall terminate
   upon account closure. If and when Bitfinex closes your account and there is a Lien outstanding against any of your wallets, funds,
   or Digital Tokens, Bitfinex may satisfy the Lien or invoke arbitration under these Terms of Service, or both. If and when Bitfinex
   closes your account and there is no Lien outstanding against any of your wallets, funds, or Digital Tokens, this Agreement shall
   terminate upon account closure.
7. 7Arbitration: Any dispute, controversy, or claim, arising only from the invocation of arbitration pursuant to paragraphs 5 or 6 of
   these Terms of Service, shall be exclusively referred to and finally resolved under arbitration in accordance with the Commercial
   Arbitration Rules and Mediation Procedures of the American Arbitration Association, as they may be amended from time to time.
   The number of arbitrators shall be one. The arbitrator shall be Michael J. Lee, an attorney in San Diego, California or a substitute
   arbitrator agreed to by a majority of the three parties to these Terms of Service. The seat or legal place of the arbitration shall be
   San Diego, California. The language of the arbitral proceedings shall be English. Arbitral proceedings may only determine the
   existence, amounts, and entitlements of any Liens and the existence, amounts, and entitlements of any multi-signature bitcoin
   wallet in respect of which you hold one of the private keys. The party at fault or the party determined to be more liable than the
   others, as may be, shall pay the costs of the arbitration and the other parties’ costs. Bitfinex and BitGo each reserves the right to
   require that you post security or a bond as against any costs awards prior to the commencement of the arbitration.
8. 8No Class Proceedings: You, BitGo and Bitfinex, agree that any party hereto may bring claims against the other(s) only on an
   individual basis and not as a plaintiff or class member in any purported class or representative action or proceeding. Unless the
   parties agree otherwise, the arbitrator may not consolidate or join more than one Person’s or party’s claims and may not otherwise
   preside over any form of a consolidated, representative, or class proceeding. The arbitrator may award relief, including monetary,
   injunctive, and declaratory relief, only in favor of the party seeking relief, and only to the extent necessary to provide relief
   necessitated by that party’s claim(s). Any relief awarded cannot affect other BitGo or Bitfinex users.
9. 9Prohibited Uses: You may not:
       1. 9.1use the Site, BitGo, or any Services in order to disguise the proceeds of, or to further, any breach of applicable laws or
          regulations, or to deal in any contraband Digital Tokens, funds, or proceeds;
       2. 9.2trade or obtain financing on the Site, or use BitGo or any Services, with anything other than funds, keys, or Digital Tokens
          that have been legally obtained by you and that belong to you;
       3. 9.3use the Site, BitGo, or any Services to interfere with or subvert the rights or obligations of Bitfinex or Bitgo or the rights
          or obligations of any other Site customer or any other third party;
       4. 9.4use the Site, BitGo, or any Services to engage in conduct that is detrimental to Bitfinex, to BitGo, or to any other Site
          customer or any other third party;
       5. 9.5falsify any account registration details provided to Bitfinex or to BitGo;
       6. 9.6falsify or materially omit any information or provide misleading information requested by Bitfinex or BitGo in the course
          of, directly or indirectly relating to, or arising from your activities on the Site, BitGo, or the use of any Services, including at
          registration;
       7. 9.7reverse-engineer, decompile, or disassemble any software running on the Site or BitGo; or,
       8. 9.8attempt to harm Bitfinex or BitGo through your access to the Site, BitGo, or any Services, except that nothing in this
          subparagraph shall be construed as limiting your free speech rights under applicable law.
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    Any use as described in this paragraph shall constitute a "Prohibited Use." If either BitGo or Bitfinex determines that you have
    engaged in any Prohibited Use, Bitfinex or BitGo, or both of them, may address such Prohibited Use through an appropriate
    sanction, in their sole and absolute discretion. Such sanction may include, but is not limited to, making a report to law enforcement
    or other authorities and closing your account(s) on the Site.
10. 10Anti-Money Laundering and Counter-Terrorist Financing: Bitfinex is committed to providing you with safe, compliant, and
    reputable Services. Accordingly, Bitfinex insists on a comprehensive and thorough customer due diligence process and
    implementation and ongoing analysis and reporting. This includes monitoring of and for suspicious transactions and mandatory
    reporting to international regulators.

    Bitfinex reserves the right to refuse registration to, or to bar transactions from or to, anyone from or in jurisdictions that do not meet
    international AML–CTF standards as set out by the FATF; to anyone that is a Politically Exposed Person within the meaning of the
    FATF’s 40 Recommendations; or, that fails to meet any customer due diligence standards, requests, or requirements of BitGo or
    Bitfinex. In lieu of refusing registration, Bitfinex may perform enhanced customer due diligence procedures. At all times, you may
    be subject to enhanced customer due diligence procedures in your use of the Site, BitGo, and any Service.
11. 11Intellectual Property: Bitfinex and the Bitfinex logos, trade names, word marks, and design marks (the "Bitfinex Marks") are
    trademarks of iFinex. You agree not to copy, display, or use the Bitfinex Marks or other content without express, prior, written
    permission to do so. Unless otherwise indicated, all materials on Bitfinex are © iFinex. BitGo and the BitGo logos, trade names,
    word marks, and design marks (the "BitGo Marks") are trademarks of BitGo or its subsidiaries.
12. 12Your Representations & Warranties: You represent and warrant to Bitfinex and to BitGo as follows:
        1. 12.1that you are 18 years of age or older (or that you are otherwise permitted to contract under applicable law);
        2. 12.2that you will not use the Site, BitGo, or any Services in order to disguise the proceeds of, or to further, any breach of
           applicable laws or regulations, or to deal in any contraband Digital Tokens or proceeds;
        3. 12.3that you will not trade or obtain financing on the Site, or use any Services, or BitGo, with anything other than funds or
           Digital Tokens that have been legally obtained by you and that belong to you;
        4. 12.4that you will not falsify any account registration details provided to Bitfinex or to BitGo;
        5. 12.5that you will not falsify or materially omit any information or provide misleading information requested by Bitfinex or
           BitGo in the course of, directly or indirectly relating to, or arising from your activities on the Site or use of any Services or of
           BitGo, including at registration; and,
        6. 12.6that you will fairly and promptly report all income associated with your activity on the Site and BitGo pursuant to
           applicable law and pay any and all taxes exigible thereon.
13. 13No Representations & Warranties: Bitfinex and BitGo make no representations, warranties, or guarantees to you of any kind. The
    Site and the Services are offered strictly on an as-is, where-is basis and, without limiting the generality of the foregoing, are offered
    without any representation as to merchantability or fitness for any particular purpose.
14. 14SynapsePay: This application—being Bitfinex and the Services—is not directly supported by, endorsed, or certified by
    SynapsePay. SynapsePay gives no warranties and makes no claims about this application. By accepting these Terms of Service, you
    are also deemed to accept SynapsePay’s terms and conditions of service and privacy policy. All funds held within the application
    are held at SynapsePay’s partner bank(s) and are FDIC insured up to a balance of $250,000.00.
15. 15No Advice: Bitfinex and BitGo do not provide any investment advice or advice on trading techniques, models, algorithms, or any
    other schemes.
16. 16Limitation of Liability & Release: Important: Except as may be provided for in these Terms of Service, Bitfinex and BitGo
    assume no liability or responsibility for and shall have no liability or responsibility for any claim, application, loss, injury, delay,
    accident, cost, business interruption costs, or any other expenses (including, without limitation, attorneys’ fees or the costs of any
    claim or suit), nor for any incidental, direct, indirect, general, special, punitive, exemplary, or consequential damages, loss of
    goodwill or business profits, work stoppage, data loss, computer failure or malfunction, or any and all other commercial losses
    (collectively, referred to herein as “Losses”) directly or indirectly arising out of or related to:
        1. 16.1these Terms of Service;
        2. 16.2the Site, and your use of it;
        3. 16.3BitGo, and your use of it;
        4. 16.4your use of BitGo’s services;
        5. 16.5the Services, and your use of any of them;
        6. 16.6the real or perceived value of any currencies or Digital Tokens traded on the Site, or the price of any Digital Token
           displayed on the Site at any time;
        7. 16.7any failure, delay, malfunction, interruption, or decision by BitGo or Bitfinex in operating the Site or providing any
           Service;
        8. 16.8any stolen, lost, or unauthorized use of your account information any breach of security or data breach related to your
           account information; or
        9. 16.9any offer, representation, suggestion, statement, or claim made about Bitfinex, BitGo, the Site, or any Service by any
           Associate.
    You hereby agree to release the Associates from liability for any and all Losses, and you shall indemnify and save and hold the
    Associates harmless from and against all Losses. The foregoing limitations of liability shall apply whether the alleged liability or
    Losses are based on contract, negligence, tort, unjust enrichment, strict liability, or any other basis, even if the Associates have been
    advised of or should have known of the possibility of such losses and damages, and without regard to the success or effectiveness
    of any other remedies.

   Important: Notwithstanding anything else in these Terms of Service, in no event shall the combined aggregate liability of all
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      Associates for any Loss hereunder exceed the amount of the amounts paid to Bitfinex in fees in the transaction giving rise, or
      alleged to give rise, to the Loss. You shall indemnify and hold the Associates harmless from any Losses in excess of such amount.
  17. 17No Waiver: Any failure by Bitfinex or BitGo to exercise any of their respective rights, powers, or remedies under these Terms of
      Service, or any delay by Bitfinex or BitGo in doing so, does not constitute a waiver of any such right, power, or remedy. The single
      or partial exercise of any right, power, or remedy by Bitfinex or BitGo does not prevent either from exercising any other rights,
      powers, or remedies.
  18. 18Force Majeure: Bitfinex and BitGo are not responsible for damages caused by delay or failure to perform undertakings under
      these Terms of Service when the delay or failure is due to fires; strikes; floods; power outages or failures; acts of God or the state’s
      enemies; lawful acts of public authorities; any and all market movements, shifts, or volatility; computer, server, or Internet
      malfunctions; delays or defaults caused by common carriers; acts or omissions of third parties; or, any other delays, defaults,
      failures or interruptions that cannot reasonably be foreseen or provided against. In the event of force majeure, Bitfinex and BitGo
      are excused from any and all performance obligations.
  19. 19Assignment: These Terms of Service, and any of the rights, duties, and obligations contained herein, are not assignable by you
      without prior written consent of Bitfinex and BitGo. These Terms of Service, and any of the rights, duties, and obligations
      contained herein, are freely assignable by Bitfinex or BitGo, or both of us, without notice or your consent. Any attempt by you to
      assign these Terms of Service without written consent is void.
  20. 20Severability: If any provision of these Terms of Service, as amended from time to time, is determined to be invalid, void, or
      unenforceable, in whole or in part, by any court of competent jurisdiction, such invalidity, voidness, or unenforceability attaches
      only to such provision and everything else in these Terms of Service continues in full force and effect.

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